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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION



ISAAC HAYES ENTERPRISES, LLC,

et al.,

                 Plaintiffs,                        Case No. 1:24-cv-03639-TWT

                       v.

DONALD JOHN TRUMP, et al.,

                 Defendants.


        AMENDED JOINT STIPULATION TO EXTEND TIME FOR
       DEFENDANTS DONALD J. TRUMP AND DONALD J. TRUMP FOR
      PRESIDENT 2024, INC. TO ANSWER OR OTHERWISE RESPOND TO
             PLAINTIFFS’ SECOND AMENDED COMPLAINT

          Plaintiffs Isaac Hayes Enterprises, LLC and the Estate of Isaac Hayes filed

this lawsuit against Defendants Donald J. Trump and Donald J. Trump for President 2024,

Inc. (the “Campaign”), and others, on August 16, 2024. (Doc. 1). On August 21, Plaintiffs filed

their First Amended Complaint. (Doc. 6). On December 11, 2024, Plaintiffs filed their Second

Amended Complaint. (Doc. 70). The deadline for Defendants to answer or otherwise respond

to the Second Amended Complaint is January 1, 2025. In light of the intervening end-of-year

holidays, the parties conferred and agreed to extend the deadline for Defendants Donald J.

Trump and the Campaign to respond to the Second Amended Complaint to January 8, 2025.

Accordingly, the parties hereby stipulate and request an extension of time for Defendants Donald

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J. Trump and the Campaign to answer or otherwise respond to the Second Amended Complaint

for up to and including January 8, 2025.


Date: December 27, 2024                          Respectfully submitted,

                                                 /s/ Jacob William Roth
                                                 Jacob William Roth
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                                                 Counsel for Defendants Donald J.
                                                 Trump and Donald J. Trump for
                                                 President 2024, Inc.




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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), counsel hereby certifies that this document

has been prepared using Times New Roman 14-point font, as approved by Local

Rule 5.1(C).


                                            /s/ Jacob William Roth
                                            Jacob William Roth

                                            Counsel for Defendants Donald J.
                                            Trump and Donald J. Trump for
                                            President 2024, Inc.




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                         CERTIFICATE OF SERVICE

      I certify that on December 27, 2024, I electronically filed a true and correct

copy of the foregoing with the Clerk of the Court via CM/ECF.


                                              /s/ Jacob William Roth
                                              Jacob William Roth

                                              Counsel for Defendants Donald J.
                                              Trump and Donald J. Trump for
                                              President 2024, Inc.




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